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                        FOR THE W ESTERN DISTRICT OF VIRGINIA                       j.-I.1.$.r                               TJ
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  BUR R ELL A .M CG H EE ,                          C ivilN o.7:13-CV -00123

         Plaintiff




  U NITED STA TES O F A M ER ICA ,et aI.,
                                                    By:Sam uelG .W ilson
         D efendants.                               U nited StatesD istrictJudge


         BurrellA .M cGhee,the plaintiff,bringsthism edicalm alpractice action againstthe

  UnitedStatesundertheFederalTortClaimsAct(FTCA),28U.S.C.jj1346(b),2671-2680,and
  LocumTenens.com,LLC (tçLoclzm'')(aphysicianstaffingagency)andtwo doctorsunder
  Virginiastatelaw ptlrsuanttothecourt'ssupplemental,28U.S.C.j1367,and/ordiversity
 jurisdiction,28U.S.C.j 1332.McGhee'sclaim arisesfrom anartllroscopicshouldersurgeryhe
  enduredattheVeteran'sAffairsM edicalCenterin Salem,VA (çiVAM C''),inwhichthedoctors
  and the VA M C staffdropped tw o m edicaltools causing histwo-hour surgery to lastalm osteight

  hottrs,during which tim e he rem ained im m obilized and unconscious,causing him vmious

  injlzries.Basedontheseallegations,M cGheeassertsintheintroductoryparagraphofhis
  complaint(andnowhereelse)thatheisseekingpunitivedamages.Thedefendantshavemoved
  todismissM cGhee'sptmitivednmagesclaim underFederalRulesofCivilProcedtzre12(b)(6)
  and 12(c),claimingthatthecomplaintfailstoallegesufticientfactstosupportthatclaim tmder
  V irginia1aw and theFTCA precludesit.l



  1UnderRule12(b)(6),acourtmustacceptallofthefactualallegationsinthecomplaintastrue
  and draw a1lreasonable inferences in favorofthe plaintiff Erickson v.Pardus,551 U .S.89,94
  (2007).A courtwillreview aRule 12(c)motiontmderthesamestandardsasamotiontmder


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         UnderVirginialaw,an award ofptmitive damagesisreserved only forçicasesinvolving

  themostegregiousconduct''inwhichtheplaintiffsclaimsareçisupportedbyfactualallegations
  sufficientto establish thatthe defendant's conductw asw 1111 1orw anton.''W oods v.M endez,

  265Va.68,76(2003);Bowersv.W estvacoCol'p.,244Va.139,150(1992);Va.Codej8.01-
  52(5).2 diW illfulandwantonnegligenceisactiontmdertakenin consciousdisregardofanother's
  rights,orwith recklessindifferenceto consequenceswith thedefendantaware,from his

  knowledge ofexisting circllmstancesand conditions,thathisconductprobably would çause

  injurytoanother.''W oods,265Va.at76-77.W ithrespecttotheFTCA,accordingtotheplain
  languageofj2674,theUnited Stateslçshallnotbeliable...forptmitivedamages.''28U.S.C.j
  2674;M olzofv.United Statrs,502U.S.301,306(1992).M cGheesimplyhasnotpledspecitk
  factualallegationsshowing thatthedefendants'conductwaswillfulorwanton,and the FTCA

  expressly precludesan award ofpunitivedam agesagainsttheUnited States.Accordingly,itis

  hereby O RDERED and ADJUDGED thatthedefendants'motionsto dism issM cGhee's

  punitivedamagesclaim (ECFNo.14,16,26)areGRANTED andyhatclaie sDISM ISSED.
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                                                      UN/ ED STATESDlsTm c'rJUDGE




  Rule12(b)(6).SeeEdwardsv.CityofGoldsboro,178F.3d231,243 (4thCir.1999);Gravesv.
  Austin,4:12-CV-21,2012W L 6019099(W .D.Va.Dec.3,2012).
  2 In diversity cases, federalcom'ts apply the substantive 1aw ofthe fop m state,including the
  forum state'schoiceoflaw nzles,seeSalveReginaCo11.V.Russell,499U.S.225,226(1991),
  and tmderVirginiatortlaw,a courtshould applythe substnntive1aw oftheplace ofthewrong.
  Jonesv.R.S.Jones& Associates.Inc.,246Va.3,5(1993).Here,Virginiaisboththeforum
  state and tht place ofthe m ong.



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